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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )             8:06CR23
                     Plaintiff,                   )
                                                  )
       vs.                                        )               ORDER
                                                  )
MARQUE MILLER,                                    )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion to continue by defendant Marque Miller
(Miller) (Filing No. 63). Miller seeks a continuance of the trial of this matter which is
scheduled for June 19, 2006. Miller's counsel represents that counsel for the government
has no objection to the motion. Miller's counsel represents that Miller will submit an
affidavit in accordance with paragraph 9 of the progression order whereby Miller consents
to the motion and acknowledges she understands the additional time may be excludable
time for the purposes of the Speedy Trial Act. Upon consideration, the motion will be
granted.


       IT IS ORDERED:
       1.     Miller's motion to continue trial (Filing No. 63) is granted.
       2.     Trial of this matter is re-scheduled for August 14, 2006, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between June
16, 2006 and August 14, 2006, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason that defendant's counsel
requires additional time to adequately prepare the case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 16th day of June, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
